                    Case 1:16-cv-00401-VEC Document 95 Filed 03/29/22 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
FUJIAN OCEAN SHIPPING CO. LTD.,
individually and on behalf of M/V ZHENG RUN
(IMO No. 9593816), and M/V ZHENG RONG
(IMO No. 9593828),

                                   Plaintiff,
                 -against-                                                  16 CIVIL 401 (VEC)

                                                                              JUDGMENT
O.W. BUNKER FAR EAST (S) PTE. LTD.,
EQUATORIAL MARINE FUEL
MANAGEMENT SERVICES PTE LTD.,
SINANJU MARINE SERVICES PTE LTD.,
GLOBAL MARINE TRANSPORTATION PTE
LTD., GLOBAL ENERGY TRADING PTE LTD.
and ING BANK N.V.,

                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons stated in the

Court's Opinion & Order dated March 28, 2022, ING’s motion for summary judgment is GRANTED and GET's

motion for summary judgment is DENIED. Fujian's motion to be discharged from liability to ING and GET for

claims arising out of or relating to the subject bunker transactions is GRANTED and the preliminary injunction

at docket entry 13 is made PERMANENT as against ING and GET. Fujian's request for attorneys' fees and

costs is DENIED without prejudice. Judgment is entered in favor of ING Bank N.V. and against Global Energy

Trading Pte Ltd.

Dated: New York, New York

          March 29, 2022


                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
